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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

 

 

EASTERN DIVISION
)
TIANNA KELLER, )
)
Plaintiff, )
)

v. ) Case No.:
)
MEDICREDIT, INC., )
)
Defendant. )
)
)

NOTICE OF REMOVAL

 

Defendant Medicredit, Inc. (“Defendant”), pursuant to 28 U.S.C. §§ 1331, 1441, and
1446, hereby removes this action Which has been pending as Cause No. ISSL-AC00540 in the
Circuit Court of St. Louis County, Missouri, to the United States District Court for the Eastem
District of Missouri. In support of this Notice of Removal, Defendant states as follows:
I. Procedural Removal Requirements Are Satisfied

l. Plaintiff Tianna Keller (“Plaintifi”) commenced an action by filing a Petition
(“Complaint”) on January 8, 2018 in the Circuit Court of St. Louis County, Missouri, Styled

Tianna Keller v. Medicredit, Inc., Case No. lSSL-AC00540 (the “State Court Action”).

 

2. Medicredit, Inc.’s registered agent was served with a copy of the Petition and
summons on January 16, 2018. Thirty days have not yet expired since this action became
removable to this Court. Thus, this matter is timely removed. 28 U.S.C. § 1446(b).

3. Pursuant to 28 U.S.C. § l446(a), the complete file of the Circuit Court of St.

Louis County, Missouri, in this matter is attached to this Notice as Exhibit A.

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4. Concurrent with the filing of this Notice, Defendant is serving this Notice on

Plaintiff"s counsel and filing a copy of the Notice with the Circuit Court of St. Louis County,

Missouri.
5. A true and correct copy of the Complaint is attached and contained in Exhibit A.
6. The pleadings and papers filed in this litigation are limited to the Complaint and

documents relating to service on Defendant.

7. Pursuant to the Federal Rules of Civil Procedure, Defendant is
contemporaneously filing a completed Civil Cover Sheet, an Original Filing Form, and a
Disclosure of Organizational Interests Certificate.

8. The United States District Court for the Eastern District of Missouri embraces the
county in which the State Court Action is now pending. Therefore, venue is proper for this
action pursuant to 28 U.S.C. § l446(a),

9. By filing a Notice of Removal, Defendant does not waive any of its rights or
defenses.

II. This Court Has Federal Question Jurisdiction Over Plaintiff’s Claims

10. Plaintiff alleges that Defendant violated the federal Fair Debt Collection Practices
Act, 15 U.S.C. §1692 (“FDCPA”). See Ex. A, Complaint at 1111 32-33.

11. This Court has original jurisdiction over this matter under 28 U.S.C. § 1331
because the claim alleging a violation of the FDCPA implicates this Court’s federal question
jurisdiction. See Ex. A, Complaint, generally.

12. Because this Court has original jurisdiction over Plaintist FDCPA claim, as set
forth in Count I of the Complaint, this case is removable by Defendant. 28 U.S.C. §§ 1441(a)

and 1441(c).

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13. Defendant is the only defendant named in the Complaint and thus, Defendant
need not confer or obtain consent from any additional parties in order to properly effectual

removal of this case.
WHEREFORE, all of the requirements of 28 U.S.C. §§ 1331, 1441(a), and 1446 have
been satisfied, and Notice is hereby given that this action is removed from the Circuit Court of

St. Louis County, Missouri to the United States District Court for the Eastern District of

Missouri.

Respectfully submitted,

/s/ John D. Ryan

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Attorneys for Defendant Medicrea'it Inc.
CERTIFICATE OF SERVICE
The undersigned hereby certifies that on this 13th day of February, 2018, the foregoing

document was electronically filed with the Clerk of the Court, to be served by the Court’s
electronic notification system upon all attorneys of record.

/s/John D. Ryan

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